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8                               UNITED STATES DISTRICT COURT
9                              CENTRAL DISTRICT OF CALIFORNIA
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11    DELAWARE LIFE INSURANCE                   Case No. 5:23-cv-01024 SSS (SHKx)
      COMPANY,
12
                  Plaintiff,                    JUDGMENT
13
            v.
14
      ESTHER CUNNINGHAM, an
15    individual; ANDREA L. SYKES, an
      individual; ESTATE OF CLARENCE
16    JEFFERSON WYNN, by and through its
      Administrator/Executor; and DOES 1-10,
17    inclusive,
18
                  Defendants.
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22          The Court, having considered and decided Plaintiff Delaware Life Insurance
23    Company’s Motion for Discharge, Dismissal, and Reimbursement of Fees and Costs,
24    and entered its Order for Discharge, Dismissal, and Reimbursement of Fees and Costs
25    on December 18, 2024 (Doc. 81), and the Court having approved and ordered
26    Defendants’ Settlement on December 12, 2024 (Doc. 78),
27          IT IS HEREBY ADJUDGED AND DECREED AS FOLLOWS:
28    ///
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1           1.     This action arises out of a dispute over the purchase, ownership, and
2     beneficiary designation of Apex MYGA Single Premium Deferred Multi-Year
3     Guaranteed Annuity Contract No. APEX0057589 (“Annuity Contract”) issued by
4     Plaintiff Delaware Life Insurance Company (“Delaware Life”) to Clarence J. Wynn
5     (“Wynn”) as Owner and Annuitant for the value of $1,000,000.
6           2.     Wynn died on June 23, 2023.
7           3.     Delaware Life was faced with conflicting claims to the Annuity Contract,
8     and any death benefit payable thereunder, by Defendant Andrea L. Sykes (“Sykes”),
9     the Estate of Clarence J. Wynn, by and through its Administrator/Executor Andrea L.
10    Sykes (“Estate”), and Esther Cunningham (“Cunningham”).
11          4.     Delaware Life is a neutral, disinterested stakeholder with no beneficial
12    claim to the Annuity Contract and any death benefit payable, and interpleader was
13    legally permissible and proper.
14          5.     By Order of December 12, 2024, this Court approved the Defendants’
15    Joint Stipulation of Settlement and ordered that Sykes is the sole beneficiary of the
16    Annuity Contract. (Doc. 78.)
17          6.     Plaintiff Delaware Life is hereby and shall be discharged from any and
18    all liability to Defendants, and each of them, to the full extent permitted by law with
19    respect to the Annuity Contract, and/or any claim that is made or should have been
20    made in this lawsuit.
21          7.     Defendants, and each of them, shall be restrained from taking or
22    proceeding with or commencing any action against Delaware Life or its present,
23    former, and future officers, directors, shareholders, employers, employees, parents,
24    subsidiaries, affiliates, reinsurers, administrators, agents, predecessors, successors,
25    attorneys, and assigns, for or on account of any transaction, matter, happening, or
26    thing in any way arising out of or relating to the rights and obligations of the parties
27    with respect to the Annuity Contract and/or with respect to benefits or amounts due
28    under the Annuity Contract.

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1           8.      Delaware Life brought its interpleader pursuant to Rule 22 of the Federal
2     Rules of Civil Procedure. In accordance with the terms of the Annuity Contract,
3     Plaintiff Delaware Life currently maintains the funds at issue. As ordered by this
4     Court, Delaware Life is awarded its reasonable attorney’s fees and costs in the amount
5     of $54,690.08. (Doc. 81.) Delaware Life shall retain said sum out of the funds payable
6     under the Annuity Contract, prior to distribution to any beneficiary.
7           9.      Delaware Life shall settle the Death Benefit according to instructions by
8     the beneficiary Defendant Andrea L. Sykes, pursuant to the terms of the Annuity
9     Contract, and upon determination by Delaware Life that all claim paperwork is in
10    good order.
11          10.     Distribution referred in paragraph 9 herein shall be made as follows:
12    100% of the Death Benefit to the beneficiary Defendant Andrea L. Sykes. Defendant
13    Esther Cunningham receives nothing (0%).
14          11.     This action is dismissed with prejudice, all Defendants to bear their own
15    fees and costs for this action.
16
17          In accordance with Rules 58 and 79(a) of the Federal Rules of Civil Procedure,
18    Judgment is entered as of the date the Clerk notates this Judgment in the civil docket.
19    This is a final judgment.
20
21          IT IS SO ORDERED.
22
23    Dated: January 8, 2025
24                                                ______________________________
25                                                SUNSHINE S. SYKES
                                                  United States District Judge
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1     Proposed Judgment approved as to form:
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3     BURKE, WILLIAMS, & SORENSEN
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6     By: /s/ Nancy Jerian Marr
      Daniel W. Maguire
7     Nancy Jerian Marr
8     Attorneys for Plaintiff Delaware Life Insurance
      Company
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